    Case 2:17-cr-00033-MHT-WC Document 28 Filed 03/17/17 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )         CIVIL ACTION NO.
     v.                            )           2:17cr33-MHT
                                   )               (WO)
WILLIAM EDWARD ROBINSON            )
and SANDRA WRIGHT TAYLOR           )

                                ORDER

    In light of the filing of a superseding indictment

(doc. no. 23), it is ORDERED that the motion to dismiss

indictment with prejudice (doc. no. 27) is granted, and

the original indictment (doc. no. 4) is dismissed.

    DONE, this the 17th day of March, 2017.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
